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               Exhibit 9
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         Infringement Claim Chart for U.S. Pat. No. US7023979B1 v. Google (“Defendant”)


   Claim10                                              Evidence
10. A           The Google Customer Service performs a method for communicating in a communication
communication   network.
s method
comprising:     For Example, Google Customer Service performs a method of communicating by
                establishing, over a communication network, a call between callers with a request to the
                appropriate department for assistance.




                Source: Contact us for help and office location guidance - Google (about.google)




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Source: Google Help




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Source: Contact Us | Google Cloud




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(a) receiving a   The Google Customer Service receives a plurality of communications, each having
plurality of      associated classification information.
communications
, each having     For example, Google Customer Service receives calls from multiple callers. For each call,
associated        a user provides information about the nature of the call by selecting the appropriate
classification    department from the given choices. The responses are used to classify the call.
information;




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(b) storing         The Google Customer Service maintains information about potential targets that includes
information         support agents, departments, or specific resources capable of handling different types of
representing        inquiries.
characteristics
of a plurality of   For example, Google Customer Service records i.e., stores information about the skill set
potential           possessed by agents who are potential targets of the call.
targets;




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                  Source: Contact Center AI (CCAI) Platform | Google Cloud

(c) determining   The Google Customer Service determines an optimum target for each communication
an optimum        based on the communication classification and target characteristics using a multivariate
target for each   cost function comparing at least three potential targets.
communication
based on the      For example, Google Customer Service analyses the caller selection to determine one or
communication     more skills that an agent who is selected to receive the call should have in order to
classification    provide the caller with the requested assistance. The system analyses the native agent
and target        to control calls using Contact Center AI Platform (i.e., a multivariate cost function).




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characteristics   Google employs numerous agents, at least three of which possess the skill set required
using a           by the call.
multivariate cost
function
comparing at
least three
potential
targets; and




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Source: Contact Us | Google Cloud




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Source: Contact Center AI (CCAI) Platform | Google Cloud




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                  Source: Google announces new Cloud Contact Center AI Platform | Google Cloud Blog

(d) routing the   The Google Customer Service routes the communication to the optimum target.
communication
to the optimum    For example, upon determining, as the optimum target, the agent to which the call
target,           should be routed, Google Customer Service routes the call to that destination agent.




                  Source: Contact us for help and office location guidance - Google (about.google)




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Source: Contact Us | Google Cloud




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                   Source: Contact Center AI (CCAI) Platform | Google Cloud




                   Source: Google Cloud Blog

said determining   The Google Customer Service performs the determination and the routing steps within a
step and said      common operating environment.
routing step
being performed    For example, when a caller provides information about the nature of the call by selecting
within a           the appropriate department from the given choices, then CCaaS solution automates the
common             call routing using one Contact Center AI platform (i.e., in a common operating system).
operating
environment.




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Source: Contact Center AI (CCAI) Platform | Google Cloud




Source: Google Cloud Blog




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